
USCA1 Opinion

	




          September 3, 1992     [NOT FOR PUBLICATION]                                 ___________________          No. 92-1544                                            BENJAMIN QUIRINDONGO,                                Plaintiff, Appellant,                                          v.                            JOSE L. ROLON MORALES, ET AL.,                                Defendants, Appellees.                                  __________________                     APPEAL FROM THE UNITED STATES DISTRICT COURT                           FOR THE DISTRICT OF PUERTO RICO                    [Hon. Jose Antonio Fuste, U.S. District Judge]                                              ___________________                                 ___________________                                        Before                              Torruella, Cyr and Stahl,                                   Circuit Judges.                                   ______________                                 ___________________                    Raul Barrera Morales on brief for appellant.                    ____________________                                  __________________                                  __________________                 Per Curiam.  Plaintiff  appeals from a jury  verdict for                 __________            defendants (three law enforcement officers) in an action for,            essentially, malicious prosecution.   Plaintiff contends that            the  jury  verdict  was  unsupported  by  the  evidence.   We            disagree.                 Plaintiff acknowledges  that one of the  elements he was            required  to prove  was  that  defendants initiated  criminal            charges  maliciously  and  without  probable  cause.    While            plaintiff proved that the  charges against him were dismissed            (when  the prosecutor failed to obey a court order to produce            a  videotape  which  the  defendants  had  represented  would            inculpate  plaintiff) and  plaintiff asserted  his innocence,            the jury  could permissibly  conclude that plaintiff  did not            adequately   demonstrate   lack   of   probable    cause   or            maliciousness.   The jury was  not required to  conclude from            plaintiff's bald assertion of innocence and  the prosecutor's            failure to  produce the videotape that  the charging officers            necessarily acted maliciously  and without probable  cause as            opposed, for  example, to  innocently and upon  a reasonable,            but ultimately mistaken, belief.                 The  judgment is  summarily affirmed  pursuant to  First            Circuit Rule 27.1.                                                  -2-

